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United States District Court
Eastern District of New York                                     1:19-cv-07206

Anakristina Santiago, individually and on
behalf of all others similarly situated,
                                 Plaintiff,

                   - against -                                         Complaint

Lidl US, LLC,
                                 Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.     Lidl US, LLC (“defendant”) manufactures, distributes, markets, labels and sells

french vanilla ice cream products purporting to contain flavor only from their natural

characterizing flavor, vanilla, under their Lidl brand (“Products”).

       2.     The Products are available to consumers from defendant's retail stores and are sold

in cartons of 1.5 QT (1.42 L).

       3.     The Product’s relevant front label representations include “French Vanilla Ice

Cream,” “Made with Vanilla and Fresh Cream,” “Inspired by Indulgent French Custard,” a

vignette of a vanilla bean and flower of vanilla bean, a pitcher of milk and two cones with scoops

of the contents.




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                                        French Vanilla Ice Cream




I.      Vanilla is Perennial Favorite Ice Cream Flavor

        4.     Ice cream is a year-round treat enjoyed by 96% of Americans.1

        5.     Its popularity is attributed “to the perfect combination of elements – sugar, fat, frozen

water, and air – that make up the mouthwatering concoction.”2

        6.     Ice cream is defined by a minimum of 10 percent milkfat, weighing no less than 4.5

pounds to the gallon and containing less than 1.4 % egg yolk solids.3

        7.     Vanilla is the consistent number one flavor for 28% of Americans, confirmed two

groups who would know – the International Dairy Foods Association (IDFA) (ice cream

producers) and National Ice Cream Retailers Association (ice cream parlors).

        8.     The reasons for vanilla’s staying power are “not only because it is creamy and

delicious, but also because of its ability to enhance so many other desserts and treats.”4

        9.     By some estimates, approximately two-thirds of “all ice cream eaten is either vanilla


1
  Arwa Mahdawi, The big scoop: America's favorite ice-cream flavor, revealed, The Guardian, July 11, 2018
2
  Vox Creative, The Reason You Love Ice Cream So Much Is Simple: Science, Eater.com, October 12, 2017.
3
  21 C.F.R. § 135.110(a)(2) (“Ice cream and frozen custard.”).
4
  Press Release, IDFA, Vanilla Reigns Supreme; Chocolate Flavors Dominate in Top Five Ice Cream Favorites Among
Americans, July 1, 2018


                                                      2
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or vanilla with something stirred into it, like chocolate chips.”5

        10.     The applications of vanilla ice cream include its centerpiece between chocolate

wafers (“sandwich”), enrobed in chocolate on a stick (“bar”), topping a warm slice of fresh-baked

pie (“à la Mode”), drizzled with hot fudge, sprinkled with crushed nuts and topped by a maraschino

cherry (“sundae”) or dunked in a cold frothy glass of root beer (“float”).6


    A. Philadelphia (American)-style v. French Ice Cream

        11.     In the development of ice cream, the two main types were Philadelphia (American)-

style and French ice cream, flavored of course, with vanilla.

        12.     Like many confections, ice cream was brought here from France, courtesy of two

statesmen who served as ambassadors to that nation: Thomas Jefferson and Ben Franklin.

        13.     While these two Founding Fathers could agree on the terms of the Declaration of

Independence and Constitution, they could not agree about the superior type of vanilla ice cream.

        14.     President Thomas Jefferson was a partisan of the egg yolk base, describing this treat

as “French ice cream.”7

        15.     The French reliance on egg yolks to reduce the amount of butterfat and cream used

was not due to taste, but to the limited dairy production and relative abundance of hens.

        16.     Dr. C. L. Alsberg, head of the Bureau of Chemistry, U.S. Department of Agriculture,

highlighted the differences between these varieties in a 1914 hearing:

        the early French records, the cook books, never made ice cream from cream alone.
        It was not until ice cream was introduced into England that it was ever made of
        dairy cream sweetened and flavored and frozen. The French always used cream and

5
  Bill Daley (the other one), Which vanilla ice cream is the cream of the crop? We taste test 12 top brands, Chicago
Tribune, July 18, 2018
6
  The True Wonders of Vanilla Ice Cream, FrozenDessertSupplies.com.
7
  Thomas Jefferson’s Handwritten Vanilla Ice Cream Recipe, Open Culture, July 13, 2014; Thomas Jefferson’s Vanilla
Ice Cream, Taste of Home, June-July 2012; Thomas Jefferson’s Original Vanilla Ice Cream Recipe, Jefferson Papers,
Library of Congress; Anna Berkes, “Ice Cream” in Thomas Jefferson Encyclopedia, Thomas Jefferson Foundation,
Inc., Monticello.org, June 28, 2013


                                                         3
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         eggs or cream and milk and eggs and sugar, with fruits or starches or anything that
         would make a custard.8

         17.    Besides the use of eggs, another difference was “that the American ice cream is raw.

And the French as a rule is cooked.”9

         18.    The egg yolk solids, when mixed with vanilla, distinguish a “French” vanilla ice

cream from its Philadelphia-style counterpart by providing a: 10

                        •    smoother consistency and silkier mouthfeel;

                        •    caramelized, smoky and custard-like taste; and

                        •    deep-yellow color.11


         19.    Due possibly to Jefferson’s efforts at popularizing this variety, ice cream with 1.4%

or more egg yolk solids as part of its base is referred to as “french ice cream.”12

         20.    Meanwhile, during the sweltering summer of the Constitutional Convention of 1787,

Ben Franklin’s “crème froid” or “cold cream” served as a refreshing break for the delegates

debating this nation’s future.13

         21.    Ever the tinkerer, Franklin adapted his ice cream to the environment by relying on

the abundance of dairy farms in the Philadelphia region, the lack of hens to provide the egg yolk

base and foregoing the cooking step, to more quickly produce this refreshing treat for the



8
  Report of Hearing on Ice Cream Before Dr. C. L. Alsberg, Chief of the Bureau of Chemistry, U.S. Department of
Agriculture, February 10, 1914 and March 7, 1914, Subject: The Use of Colloids as Stabilizes in Ice Cream, the Butter
Fat Standard for Ice Cream and the Bacteriology of Ice Cream, with Special Reference to the Cincinnati Ice Cream
Cases. Published by The National Association of Ice Cream Manufacturers, June 1914 at p. 19 (“Alsberg Hearings”).
9
  Alsberg Hearings, Testimony of Mr. Lewis, General Manager, J. M. Horton Ice Cream Co. at p.33.
10
   The descriptor “French” or “french” preceding “vanilla” does not modify the word “vanilla.”
11
   Sheela Prakash, What’s the Difference Between Vanilla and French Vanilla Ice Cream?, The Kitchn, June 7, 2017.
12
   21 C.F.R. § 135.110(f)(1) (“The name of the food is ‘ice cream’; except that when the egg yolk solids content of
the food is in excess of that specified for ice cream by paragraph (a) of this section, the name of the food is ‘frozen
custard’ or ‘french ice cream’ or ‘french custard ice cream’.)
13
   R. Berley, A Treatise on the History of Ice Cream in Philadelphia, The Franklin Fountain; Julia Reed, Ice cream
two ways: A tale of two continents, King Arthur Flour, Blog, Aug. 24, 2018; but see Jeff Keys, Ice Cream Mix-
ins, N.p., Gibbs Smith (2009) at 14.


                                                          4
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delegates.14


     B. Sources of Vanilla – Vanilla Extract and Vanilla Beans

         22.    The form of vanilla used in French and Philadelphia-style ice creams also differs.

                             Vanilla Extract                   Vanilla Beans




         23.    The French variety used vanilla extract, the liquid created when the flavor molecules

from the vanilla bean are extracted by alcohol.15

         24.    The Philadelphia-style relied on the unextracted seed pods contained inside vanilla

beans which had not been subject to extraction.

         25.    Vanilla beans deliver a more intense and pure flavor with strong visual appeal


14
   Vanilla Ice Cream, Philadelphia-Style, The Perfect Scoop, Epicurious.com, Dec. 2011; Dr. Annie Marshall, Vanilla
Bean Ice Cream Two Ways, and Ice Cream Basics, July 8, 2011, Everyday Annie Blog (“Varieties of ice cream
generally fall into two main categories: Philadelphia-style or French-style. Philadelphia style ice creams are quicker
and simpler, with a heavy cream/milk mixture for the base. French-style ice creams have a custard base, with cooked
egg yolks to help achieve a creamy texture and rich flavor.”).
15
   21 C.F.R. §§ 169.175 (Vanilla extract.) (at least thirty-five (35) percent ethyl alcohol).


                                                          5
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through the “specks” of the vanilla beans used.16

        26.    Vanilla extract’s advantages are its smoother, more even taste, ease of use, greater

portability and lower price.

        27.    In the best tradition of American compromise, the majority of ice cream today is

made in the Philadelphia-style, but flavored with vanilla extract.


II.     Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        28.    The tropical orchid of the genus Vanilla (V. planifolia) is the source of the prized

flavor commonly known as vanilla, defined by law as “the total sapid and odorous principles

extractable from one-unit weight of vanilla beans.”17

        29.    Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or

for its desirable aroma qualities.”18

        30.    Though the Pure Food and Drugs Act of 1906 (“Pure Food Act”) was enacted to

“protect consumer health and prevent commercial fraud,” this was but one episode in the perpetual

struggle against those who have sought profit through sale of imitation and lower quality

commodities, dressed up as the genuine articles.19

        31.    It was evident that protecting consumers from fraudulent vanilla would be

challenging, as E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of

Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla consumed


16
    Lisa Weiss and Gale Gand, Chocolate and Vanilla: A Baking Book, United States: Potter/Ten
Speed/Harmony/Rodale (2012) at 113-14; Louisa Clements, Pantry 101: Vanilla extract vs. vanilla beans, Chat Elaine,
Nov. 30, 2015; David Lebovitz, The Perfect Scoop: Ice Creams, Sorbets, Granitas, and Sweet
Accompaniments. United States: Potter/TenSpeed/Harmony (2011) at 26.
17
   21 C.F.R. §169.3(c).
18
   Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018.
19
   Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.


                                                        6
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[in the United States] as all other flavors together.”20

        32.     This demand could not be met by the natural sources of vanilla, leading

manufacturers to devise clever, deceptive and dangerous methods to imitate vanilla’s flavor and

appearance.

        33.     Today, headlines tell a story of a resurgent global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.21

        34.     Though “food fraud” has no agreed-upon definition, its typologies encompass an

ever-expanding, often overlapping range of techniques with one common goal: giving consumers

less than what they bargained for.


     A. Food Fraud as Applied to Vanilla

        35.     Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.22

        36.     The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities in today’s interconnected world.23

        Type of Food Fraud                                       Application to Vanilla

 ➢ Addition of markers                   •    Manipulation of the carbon isotope ratios to produce



20
   E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
21
   Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
22
   Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
23
   Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.


                                                         7
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     specifically tested for                 synthetic vanillin with similar carbon isotope composition
     instead of natural                      to natural vanilla
     component of vanilla beans

                                        •    Ground vanilla beans and/or seeds to provide visual appeal
                                             as “specks” so consumer thinks the product contains real
                                             vanilla beans, when the ground beans have been exhausted
 ➢ Appearance of more and/or                 of flavor
     higher quality of the valued •          Caramel to darken the color of an imitation vanilla so it
     ingredient                              more closely resembles the hue of real vanilla24
                                        •    Annatto and turmeric extracts in dairy products purporting
                                             to be flavored with vanilla, which causes the color to better
                                             resemble the hue of rich, yellow butter

                                        •    Tonka beans, though similar in appearance to vanilla
 ➢ Substitution and
                                             beans, are banned from entry to the United States due to
     replacement of a high
                                             fraudulent use
     quality ingredient with
                                        •    Coumarin, a toxic phytochemical found in Tonka beans,
     alternate ingredient of
                                             added to imitation vanillas to increase vanilla flavor
     lower quality
                                             perception

 ➢ Addition of less expensive
                                        •    Synthetically produced ethyl vanillin, derived from
     substitute ingredient to
                                             recycled paper, tree bark or coal tar, to imitate taste of real
     mimic flavor of more
                                             vanilla
     valuable component

                                        •    “to mix flavor materials together at a special ratio in which
 ➢ Compounding, Diluting,                    they [sic] compliment each other to give the desirable
     Extending                               aroma and taste”25
                                        •    Combination with flavoring substances such as propenyl



24
   Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
25
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.


                                                         8
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                                             guaethol (“Vanitrope”), a “flavoring agent [, also]
                                             unconnected to vanilla beans or vanillin, but unmistakably
                                             producing the sensation of vanilla”26

                                         •   “Spiking” or “fortification” of vanilla through addition of
                                             natural and artificial flavors including vanillin, which
                                             simulates vanilla taste but obtained from tree bark

                                         •   Injection of vanilla beans with mercury, a poisonous
 ➢ Addition of fillers to give               substance, to raise the weight of vanilla beans, alleged in
      the impression there is                International Flavors and Fragrances (IFF), Inc. v. Day
      more of the product than               Pitney LLP and Robert G. Rose, 2005, Docket Number L-
      there actually is                      4486-09, Superior Court of New Jersey, Middlesex
                                             County.

                                         •   Subtle, yet deliberate misidentification and obfuscation of
                                             a product’s components and qualities as they appear on the
                                             ingredient list
                                              o “ground vanilla beans” gives impression it describes
                                                  unexhausted vanilla beans when actually it is devoid
                                                  of flavor and used for aesthetics
 ➢ Ingredient List Deception27                o “natural vanilla flavorings” – “-ing” as suffix referring
                                                  to something like that which is described
                                              o “Vanilla With Other Natural Flavors” – implying –
                                                  wrongly – such a product has a sufficient amount of
                                                  vanilla to characterize the food; often containing high
                                                  amount of vanillin, which must be disclosed as an
                                                  artificial flavor when paired with vanilla


     B. The Use of Vanillin to Simulate Vanilla



26
  Berenstein, 423.
27
  Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar.


                                                         9
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         37.    The most persistent challenger to the authenticity of real vanilla has been synthetic

 versions of its main flavor component, vanillin.

         38.    First synthesized from non-vanilla sources by German chemists in the mid-1800s,

 vanillin was the equivalent of steroids for vanilla flavor.

         39.    According to Skip Rosskam, a professor of vanilla at Penn State University and

 former head of the David Michael flavor house in Philadelphia, “one ounce of vanillin is equal to

 a full gallon of single-fold vanilla extract.”28

         40.    Today, only 1-2% of vanillin in commercial use is vanillin obtained from the vanilla

 plant, which means that almost all vanillin has no connection to the vanilla bean.

         41.    Nevertheless, disclosure of this powerful ingredient has always been required where

 a product purports to be flavored with vanilla. See Kansas State Board of Health, Bulletin, Vol. 7,

 1911, p. 168 (cautioning consumers that flavor combinations such as “vanilla and vanillin…vanilla

 flavor compound,” etc., are not “vanilla [extract] no matter what claims, explanations or formulas

 are given on the label.”).

         42.    Since vanilla is the only flavor with its own standard of identity, its labeling is

 controlled not by the general flavor regulations but by the standards for vanilla ingredients.

         43.    This means that if a product is represented as being characterized by vanilla yet also

 contains non-vanilla vanillin, the label and packaging must declare the presence of vanillin and

 identify it as an artificial flavor. See Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The

 specified name of the food is "Vanilla-vanillin extract _-fold" or "_-fold vanilla-vanillin extract",

 followed immediately by the statement "contains vanillin, an artificial flavor (or flavoring)".); see

 also 21 C.F.R. § 169.181(b), § 169.182(b) (similar declarations required for Vanilla-vanillin


 28
   Katy Severson, Imitation vs. Real Vanilla: Scientists Explain How Baking Affects Flavor, Huffington Post, May
 21, 2019.


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 flavoring and Vanilla-vanillin powder).

            44.    This prevents consumers from being misled by products which may taste similar to

 real vanilla and but for consumer protection requirements, would be sold at the price of real vanilla.


        C. “Natural Vanillins” are Produced in a Non-Natural Manner

            45.    The past ten years have seen the introduction of vanillin ingredients that purport to

 be a “natural flavor,” based on the raw material being a natural source and undergoing a natural

 production process.

            46.    While vanillin can be made in an allegedly “natural” fermentation process from

 ferulic acid, the cost is prohibitive for use in most applications.

            47.    When eugenol, from cloves are used to produce vanillin, it is subject to chemical

 reactions and processes considered to be synthetic by the FDA.

            48.    These low-cost “natural vanillins” are produced by the ton in China, with little

 transparency or verification, before being delivered to the flavor companies for blending.


        D. Vanilla “WONF” to Imitate Real Vanilla

            49.    The global shortage of vanilla beans has forced the flavor industry to “innovate[ing]

 natural vanilla solutions…to protect our existing customers.”29

            50.    These “customers” do not include the impoverished vanilla farmers who are at the

 mercy of global conglomerates nor consumers, who are sold products labeled as “vanilla” for the

 same or higher prices than when those products contained only vanilla.

            51.    The flavor industry has reacted to the high vanilla prices with programs like the

 “Sustainable Vanilla Initiative” and “Rainforest Alliance Certified.”



 29
      Amanda Del Buouno, Ingredient Spotlight, Beverage Industry, Oct. 3, 2016.


                                                          11
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         52.     However, these initiatives have been silently questioned among the vanilla farmers

 of Madagascar, where there have been whispers that contrary to seeking “sustainability” of vanilla,

 the food and flavor conglomerates are actually working in the opposite direction.

         53.     This entails paying Madagascar vanilla farmers to destroy their vanilla crops instead

 of taking the uncured beans to market.

         54.     Fewer vanilla beans means higher prices, which benefit the flavor industry because

 products like vanilla extract have low margins – there is no advanced synthetic biology or

 proprietary formula for this basic, yet essential ingredient.

         55.     While this conclusion is not directly stated, it is apparent from the comments of

 industry executives.

         56.     According to Suzanne Johnson, vice president or research at a North Carolina

 laboratory, “Many companies are trying to switch to natural vanilla with other natural flavors

 [WONF] in order to keep a high-quality taste at a lower price.”

         57.     The head of “taste solutions” at Irish conglomerate Kerry, urged flavor

 manufacturers must “[G]et creative” and “build a compounded vanilla flavor with other natural

 flavors.”

         58.     These compounded flavors typically exist in a “black box” and “consist of as many

 as 100 or more flavor ingredients,” blended together in a special ratio to complement and enhance

 the vanilla component.30

         59.     A compounded vanilla flavor “that matches the taste of pure vanilla natural extracts”

 can supposedly “provide the same vanilla taste expectation while requiring a smaller quantity of


 30
   Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
 Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
 1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “That Seem[s] to be Authentic
 or at Least Derived from a Natural Source”) (emphasis added).


                                                          12
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 vanilla beans. The result is a greater consistency in pricing, availability and quality.”31

           60.   That high level executives in the flavor industry are willing to openly boast of their

 stratagems to give consumers less vanilla for the same price is not unexpected.

           61.   This is due in part to the once powerful and respected trade group for the flavor

 industry, The Flavor and Extract Manufacturers Association (“FEMA”), abandoning its “self-

 policing” of misleading vanilla labeling claims and disbanding its Vanilla Committee.

           62.   Though FEMA previously opposed efforts of industry to deceive consumers, it cast

 the general public to the curb in pursuit of membership dues from its largest members.


 III.      Ice Cream Flavor Labeling

           63.   Daphna Havkin-Frenkel, editor of the Handbook of Vanilla Science and Technology,

 and a leading scholar and researcher on vanilla, summarized the flavoring requirements in the

 context of ice cream flavored by vanilla:32

                     There are three categories of vanilla ice cream, as defined by the FDA
                     Standard of Identity. Vanilla ice cream Category I contains only vanilla
                     extract. Vanilla ice cream Category II contains vanilla made up of 1 oz
                     of synthetic vanillin per 1 gallon of 1-fold vanilla extract. Vanilla ice
                     cream Category III contains synthetic ingredients.

           64.   Carol McBride, U.S. vanilla category manager for global flavor giant Symrise, noted

 these requirements and their effect on consumers: “If the flavor comes partially or fully from

 another source, the company must stamp ‘vanilla flavored’ or ‘artificial vanilla’ on the front of the

 package, a likely turnoff to consumers.”33


        A. Early Ice Cream Flavoring Debate is “Stirring”



 31
    Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.
 32
    Daphna Havkin-Frenkel and Faith C. Belanger, eds., Handbook of Vanilla Science and Technology, Wiley, 2018
 (221).
 33
    Melody M. Bomgardner, “The problem with vanilla,” Chemical & Engineering News, Sept. 12, 2016.


                                                      13
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        65.   Before formal regulations were enacted, Congressional Hearings from the 1930s

 offered the legislature the opportunity to state their position on the non-misleading designation of

 flavors on ice cream products.

        66.   Unsurprisingly, the starting point for the debate was how to label vanilla ice cream

 flavored with added vanillin from clove oil, a natural source material.

        67.   Why, the industry, asked Congress, could they not label their products as “vanilla ice

 cream” if it contained vanillin from sources other than vanilla beans?

        68.   In response, Congressmen E.A. Kenny of New Jersey and Virgil Chapman of

 Kentucky inquired of ice cream’s representative, Mr. Schmidt:

        Mr. Kenney: Do you not think, though, Mr. Schmidt, that if you label it vanilla
                    ice cream, it ought to be vanilla; and if it is made with vanillin
                    extracted from oil of cloves, you ought to label it manufactured
                    with such vanillin?

        Mr. Schmidt: Well, we, of course, do not think so. That is why we are here
                     making our protest. We think, after all, the consuming public is
                     accustomed to accepting as vanilla artificial vanillas.

        Mr. Kenney: We agree that Barnum educated us along that line a long time ago.
                    (emphasis added)

        ……………

        Mr. Chapman: I do think that if it is chocolate it ought to be labeled “chocolate”;
                     and if it is flavored with vanillin made from oil of cloves, it ought
                     to be labeled to show that it is flavored with vanillin made from oil
                     of cloves; and if it is flavored with vanilla, it ought to be labeled
                     "vanilla"; and if it is " flavored with lemon, it ought to be labeled
                      lemon "; and if it is cherry, it ought to be labeled "cherry.”

        69.   Later in the hearing, Mr. Chapman and another industry representative engaged over

 the proper declaration of flavor for ice cream:

                Mr. Chapman: Do you make raspberry?

                Mr. Hibben        Yes.




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                  Mr. Chapman        And you put that on the label?

                  Mr. Hibben         We say “raspberry ice cream.”

                  Mr. Chapman        And if it is peach, you put that on the label?

                  Mr. Hibben         It Is peach ice cream; yes.

                  Mr. Chapman And If you call it vanilla, what do you put on?

                  Mr. Hibben         We put "vanilla ice cream" on our labels. That Is what we
                                     want to continue to do. We want to put vanilla on those
                                     labels.

                  Mr. Chapman        But you say you put in It oil of cloves instead of vanilla.

                  Mr. Hibben         We do not use cloves. We use vanillin derived from the
                                     oil of cloves.

                  Mr. Chapman        If you put out strawberry ice-cream, you would not want
                                     to use raspberry to make it, would you?

                  Mr. Hibben         No; but we use vanillin, which is an ingredient of the
                                     vanilla bean and, its true to name.

                  Mr. Chapman        Is it an extract from the vanilla bean?

                  Mr. Hibben         It is both. It is taken both from the eugenol and the vanilla
                                     bean and is the same product. If you were a chemist you
                                     could not tell the difference, and if you were a doctor, you
                                     would say that one is just as harmless as the other.

                  Mr. Chapman        I do not object to buying artificial vanilla ice cream if it is
                                     pure, but if it is artificial. I would like to know what I am
                                     getting.34

         70.    Even before ice cream standards were established, Congress framed the central

 question for ice cream flavoring as whether the flavor source was entirely derived from the

 characterizing flavor – i.e., raspberry for raspberry ice cream, vanilla for vanilla ice cream.


      B. Ice Cream Flavoring Regulations


 34
   One of the reasons for the emphasis on flavor derived from the characterizing flavor was ice cream’s status as a
 high value, expensive product, made mainly from milk and cream. The use of ersatz flavoring lowered the quality of
 an otherwise valued item.


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           71.   The ice cream standard of identity, 21 C.F.R. § 135.110, established in the early

 1960s “provided for a system for designating characterizing flavors in ice cream which has come

 to be referred to as the ‘3 category flavor labeling.’” Exhibit “A,” FDA, Taylor M. Quinn,

 Associate Director for Compliance, Bureau of Foods, to Glenn P. Witte, International Association

 of Ice Cream Manufacturers, May 31, 1979 (“Quinn Letter, May 31, 1979”).

           72.   The requirements “recognize[s] three distinct types of ice cream, based on the use of

 natural and various combinations of natural and various combinations of natural and artificial

 flavors that characterize this food.” Exhibit “A,” Quinn Letter, May 31, 1979; see 21 C.F.R. §

 135.110(f)(2)(i)-(iii); 21 C.F.R. § 135.110(f)(3)-(5).

                              Vanilla Ice Cream Labeling Quick Chart
  Category                    Label Diagram                     Flavor Source          Authority
                                                                                      (21 C.F.R.)
  I              [“characterizing flavor”] + [“ice cream”] → Vanilla Beans        §135.110(f)(2)(i)
                 “Vanilla Ice Cream” or “Strawberry Ice
                 Cream”

  II             [“characterizing flavor”] + [“flavored”] + Vanilla Beans;        §135.110(f)(2)(ii)
                 [“ice cream”] → “Vanilla Flavored Ice Non-Vanilla
                 Cream” or “Peach Flavored Ice Cream”       Beans

  III            [“artificial” or “artificially flavored”] + Vanilla Beans;       §135.110(f)(2)(iii)
                 [“characterizing flavor”] + [“ice cream”] → Non-Vanilla
                 “Artificially Flavored Vanilla Ice Cream” or Beans
                 “Artificially Flavored Strawberry Ice
                 Cream”


           73.   The key distinction between labeling flavors in ice cream compared to other foods is

 in the meaning of “natural flavor.”

           74.   In ice cream, “natural flavor” refers to flavor derived only from the characterizing

 flavor, while “artificial flavor” refers to flavors derived from sources other than the characterizing

 flavor.



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         75.   For a category 1 ice cream, which “contains no artificial flavor, the name on the

 principal display panel or panels of the label shall be accompanied by the common or usual name

 of the characterizing flavor, e.g., ‘vanilla,’ in letters not less than one-half the height of the letters

 used in the words ‘ice cream.’” 21 C.F.R. §135.110(f)(2)(i); see Quinn Letter, May 31, 1979 (“the

 designation of a characterizing flavor for category I ice cream is based on the premise that only

 natural flavor derived from the product whose flavor is simulated may be used.”).

         76.   Categories 2 and 3 may contain a natural characterizing flavor and artificial flavor

 simulating it, but differ based on whether the natural characterizing flavor predominates. See 21

 C.F.R. §135.110(f)(2)(ii) (“Category II”) (“If the food contains both a natural characterizing flavor

 and an artificial flavor simulating it, and if the natural flavor predominates”); 21 C.F.R.

 §135.110(f)(2)(iii) (“Category 3”) (“If the food contains both a natural characterizing flavor and

 an artificial flavor simulating it, and if the artificial flavor predominates”); Exhibit “A,” Quinn

 Letter, May 31, 1979 (“The flavor designation for category II ice cream is on the basis that the

 product contains both natural and artificial flavor, but the natural flavor predominates, whereas in

 category III the artificial flavor predominates.”).

         77.   The non-vanilla flavor which simulates the natural characterizing vanilla flavor is

 deemed to predominate when “the amount of vanillin used is greater than 1 ounce per unit of

 vanilla constituent.” See 21 C.F.R. §135.110(f)(5)(i); Exhibit “B,” FDA, R.E. Newberry, Assistant

 to the Director, Division of Regulatory Guidance, Bureau of Foods, to Daniel P. Thompson,

 October 30, 1979 (“Newberry Letter, October 30, 1979”) (a non-vanilla flavor “is deemed to

 simulate [resemble or reinforce] vanilla if the addition of the non-vanilla flavor results in a

 reduction in the amount of vanilla bean derived flavor that would otherwise be used in a vanilla

 flavored ice cream…such a product would come under category III and have to be labeled as




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 ‘artificial vanilla.’”).

            78.    The requirements – and resulting consumer expectations for almost fifty years – are

 clear: “the flavor agent for vanilla ice cream (a category I product) is limited to vanilla bean and/or

 flavor derived from vanilla beans.” Exhibit “A,” Quinn Letter, May 31, 1979; see also Exhibit

 “C,” Summers Letter, April 10, 1979 (“A product identified as ‘Vanilla Ice Cream’ is subject to

 the category 1 ice cream requirements and, therefore, must contain only the characterizing flavor

 derived from vanilla beans,” “the standard for ice cream does not provide for the label designation

 of “With other [natural] flavors” (WONF).”).


 IV.        Flavoring Regulations for Ice Cream are Distinct from Other Foods

            79.    The flavor regulations for ice creams are separate from the general flavor regulations

 for other foods. Compare 21 C.F.R. § 135.110(f)(2)-(5) with 21 C.F.R. § 101.22; Exhibit “A,”

 Quinn Letter, May 31, 1979 (“The general flavor regulations are not applicable to this standardized

 food.”).

            80.    The ice cream flavor designations were “established long before the development of

 the general flavor regulations published under 21 CFR 101.22.” Exhibit “C,” FDA, J.L. Summers,

 Assistant to the Director, Division of Regulatory Guidance, Bureau of Foods, April 10, 1979 to

 David B. Daugherty              (“Summers Letter, April 10, 1979”) (“Consequently, the labeling

 requirements for the declaration of flavors in the name of ice cream are specifically provided for

 by the standard and is separate and apart from the general flavor regulations.”).35

            81.    Under 21 C.F.R. § 101.22(a)(3), “natural flavor” is defined generally as “the essential

 oil, oleoresin, essence or extractive…which contains the flavoring constituents” from a natural

 source such as plant material and can refer to combinations of natural flavors.


 35
      Compare 21 C.F.R. § 135.110(f)(2)-(5) with 21 C.F.R. § 101.22.


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            82.    “Artificial flavor” in contrast is any substance whose function is to impart flavor that

 is not derived from a natural source. See 21 C.F.R. § 101.22(a)(1).

            83.    For the purposes of designating the type of ice cream on the front label, whether a

 flavor complies with the general definition of natural flavor in other regulations has no relevance.

 Exhibit “C,” Summers Letter, April 10, 1979 (“A product identified as ‘Vanilla Ice Cream’ is

 subject to the category I ice cream requirements and, therefore, must contain only the

 characterizing flavor derived from vanilla beans.”); Exhibit “A,” Quinn Letter, May 31, 1979 (“It

 is our understanding that there are available in the market place, natural flavoring compounds that

 resemble, simulate and/or enhance vanilla flavor but are not derived from vanilla bean. These

 flavor compounds would not comply with the intent of the flavor provisions of Category I ice

 cream”).

            84.    This is because 21 C.F.R. § 135.110(f) “makes no provision for any natural flavors

 other than natural characterizing flavors.” Exhibit “D,” Joseph Hile, Associate Commissioner for

 Regulatory Affairs, February 9, 1983, Formal Advisory Opinion at p. 9 (“Hile Letter, February 9,

 1983”) (“FDA must treat all natural flavors that simulate the characterizing flavor as artificial

 flavors when deciding what name should appear on the principal display panel”).36

            85.    At best, “[N]atural flavors not derived from vanilla beans may be used in

 combination with the standardized items included under 21 CFR 169 (vanilla-vanillin extract or

 vanilla-vanillin flavoring) for category II vanilla flavored ice cream provided that the flavoring

 contributed by or derived from the vanilla beans predominates” and they are fully disclosed as

 same. Exhibit “E,” FDA, Quinn to Kenneth Basa, August 22, 1979 (“Quinn Letter, August 22,

 1979”).



 36
      21 C.F.R. § 135.110(f) was previously 21 C.F.R. § 135.110(e).


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 V. The Products are Misleading Because they Contain Non-Vanilla Flavor


        86.    “French Vanilla Ice Cream” is understood by consumers to identify a product where

 (1) vanilla is the characterizing flavor, (2) vanilla is contained in a sufficient amount to flavor the

 product, (3) the flavor is derived from vanilla extract or vanilla flavoring, (4) no other flavors

 simulate, resemble, reinforce, or enhance flavoring from vanilla or permit less real vanilla to be

 used and (5) vanilla is the exclusive source of flavor.


    A. Ingredient List Declaration of “Natural Flavor” Reveals Flavor is Not Exclusively Vanilla

        87.    The ingredient list reveals the Product’s flavoring ingredient is “Natural Flavor.”

                                            Ingredient List


                                                     INGREDIENTS:    MILK,    CREAM,
                                                     CORN SYRUP, LIQUID SUGAR, SKIM
                                                     MILK,    BUTTERMILK,    FRENCH
                                                     CUSTARD       BASE      [SUGAR,
                                                     SUGARED EGG YOLK (EGG YOLKS,
                                                     SUGAR), WATER], MILKFAT, WHEY,
                                                     NATURAL FLAVOR, MONO- AND
                                                     DIGLYCERIDES,    GUAR      GUM,
                                                     CELLULOUSE GUM, CARRAGEENAN,
                                                     DEXTROSE, ANNATTO (COLOR).



        88.    Where a product is labeled as a type of, or containing, vanilla bean ice cream, without

 any or adequate qualification, but the ingredient list identifies “natural flavor” in lieu of the

 exclusively vanilla flavoring ingredients such as vanilla extract, it means (1) the flavoring is not

 exclusively from vanilla, (2) the non-vanilla flavor may contain vanillin, not disclosed as an

 artificial flavor when paired with vanilla, (3) the non-vanilla flavors simulate, resemble and

 reinforce the vanilla flavor and (4) the non-vanilla flavors allow the use of less real vanilla.

        89.    Had the Products flavoring derived exclusively from vanilla, the ingredient list would


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 declare the common or usual names of one or more of the exclusively vanilla ingredients, viz,

 Vanilla Extract, Concentrated Vanilla Extract, Vanilla Flavoring and Concentrated Vanilla

 Flavoring, and not declare any other flavor ingredient. See 21 C.F.R. §§ 169.175 to 169.178.

            90.     The exclusively vanilla ingredients – vanilla extract, vanilla flavoring, etc. – differ

 only in that the former is at least thirty-five (35) percent ethyl alcohol while the latter is less than

 this amount.37

            91.     Because ice cream is a standardized food and the vanilla ingredients are subject to

 their own standards of identity, the designation of these vanilla ingredients is controlled by 21

 U.S.C. §343(g) – they are required to be specifically declared:38

                     A food shall be deemed to be misbranded –

                     (g) Representation as to definition and standard of identity

                     If it purports to be or is represented as a food for which a definition and standard of
                     identity has been prescribed by regulations as provided by section 341 of this title,
                     unless (1) it conforms to such definition and standard, and (2) its label bears the
                     name of the food specified in the definition and standard, and, insofar as may be
                     required by such regulations, the common names of optional ingredients (other than
                     spices, flavoring, and coloring) present in such food.

        B. “Natural Flavor” as Declared on Ingredient List in Accordance with 21 C.F.R. § 101.22 ≠
           Vanilla Extract or Vanilla Flavoring

            92.     “Natural flavor” is permitted as a designation for a flavor ingredient because (1)

 multiple flavors are often combined with flavor enhancers (adjuvants) without a standard, concise

 way to declare such a blend and (2) the term “natural flavor” allows protection of trade secrets

 because identifying each component of a flavor ingredient would disclose that information to

 competitors.

            93.     “Natural Flavor” on the Product’s ingredient list does not refer to an exclusively


 37
      21 C.F.R. §§ 169.175 (Vanilla extract.), 169.177 (Vanilla flavoring.); also concentrated versions of each of these.
 38
      21 U.S.C. § 343(g)(2) read with 21 C.F.R. § 135.110(f)(2)(i) and 21 C.F.R. §§ 169.175 – 169.178.


                                                             21
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 vanilla ingredient, because if it did, it would be declared.

            94.     Companies know consumers would prefer to see vanilla extract or vanilla flavoring

 on an ingredient list instead of “natural flavor” for multiple reasons.

            95.     First, vanilla extract and vanilla flavor(ing) are high value ingredients which appeal

 to consumers.

            96.     Second, consumers prefer to see vanilla extract or vanilla flavoring on an ingredient

 list because “natural flavor” is a technical, non-transparent term which allows its components to

 be kept secret.

            97.     Third, the ubiquity of “natural flavor” – in almost every food and beverage available

 – is synonymous with cheap and low value.

            98.     Fourth, because all ingredients are required to be declared by their common or usual

 name, the common or usual name for the exclusively vanilla ingredients is not natural flavor. See

 21 C.F.R. § 101.4(a)(1).


        C. “Natural Flavor” in Context of Vanilla Ice Cream

            99.     Where the front label of an ice cream product represents it is flavored only from the

 characterizing vanilla flavor, it is deceptive and unlawful to include flavor not derived from vanilla

 beans.39

            100. Where a product labeled as a type of, or containing, vanilla ice cream, contains

 “natural flavor” as the only flavoring ingredient on the ingredient list, it refers to an ingredient

 known in the trade as “Vanilla With Other Natural Flavors” or “Vanilla WONF.”

            101. Vanilla WONF contains some vanilla extract or vanilla flavoring but also contains

 “other natural flavors” and flavor enhancers, which “extend” and dilute the vanilla.


 39
      21 C.F.R. § 135.110(f)(2)(i).


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            102. The non-vanilla components of the Vanilla WONF are not derived from the vanilla

 bean and may include substances like piperonal and maltol.

            103. Consumers will think such a product has more real vanilla than it actually does and

 expect all of the vanilla flavor or taste imparted by the Products to be from vanilla.


 VI. Products are Misleading Because They are Labeled and Named Similar to Other Products


            104. Competitor products are labeled as french vanilla ice cream and are not misleading

 because they contain flavor only derived from vanilla.


        A. “French Vanilla” of Competitor and Defendant


            105. The following is the french vanilla ice cream of defendant and a competitor.

                  Competitor Product40                                          Product




       Ice Cream Made with Egg Yolks, Pure
      Vanilla Extract and Ground Vanilla Beans


 40
      Publix Premium Ice Cream, French Vanilla 0.5 GL (1.89 LT), accessed September 10, 2019.


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        106. The ingredients in the Competitor Product and Product are presented below.

                                                    Ingredients



  Competitor
  Product    Milk, Cream, Sugar, Corn Syrup, Stabilizer (Carob Bean Gum, Guar Gum),
             Pasteurized Egg Yolks, Color (Annatto And Turmeric), Pure Vanilla Extract And
             Ground Vanilla Beans.

                                                    INGREDIENTS: MILK, CREAM, CORN
                                                    SYRUP, LIQUID SUGAR, SKIM MILK,
                                                    BUTTERMILK,   FRENCH   CUSTARD
                                                    BASE [SUGAR, SUGARED EGG YOLK
                                                    (EGG YOLKS, SUGAR), WATER],
  Product
                                                    MILKFAT, WHEY, NATURAL FLAVOR,
                                                    MONO- AND DIGLYCERIDES, GUAR
                                                    GUM,      CELLULOUSE      GUM,
                                                    CARRAGEENAN,          DEXTROSE,
                                                    ANNATTO (COLOR).


        107. The competitor product lists “Pure Vanilla Extract” as opposed to the defendant’s

 product, which lists “Natural Flavor.”


 VII. Conclusion


        108. The proportion of the characterizing flavor component, vanilla, has a material

 bearing on price or consumer acceptance of the Products because they are more expensive and

 desired by consumers.

        109. The Products are misleading because they do not contain the amount, type and

 percentage of vanilla as a component of the flavoring in the ice cream which is required by law

 and consistent with consumer expectations.

        110. Had plaintiff and class members known the truth, they would not have bought the

 Product or would have paid less for it.



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         111. The Product contains other representations which are misleading and deceptive.

         112. As a result of the false and misleading labeling, the Product is sold at a premium

 price, approximately no less than $6.99 per 9 FL OZ, excluding tax – compared to other similar

 products represented in a non-misleading way.

                                       Jurisdiction and Venue


         113. Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

 of 2005 or “CAFA”).

         114. Under CAFA, district courts have “original federal jurisdiction over class actions

 involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

 diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

         115. Upon information and belief, the aggregate amount in controversy is more than

 $5,000,000.00, exclusive of interests and costs.

         116. Plaintiff Anakristina Santiago is a citizen of New York.

         117. Defendant Lidl US, LLC is a Delaware limited liability company with a principal

 place of business in Arlington, Arlington County, Virginia and upon information and belief, at

 least one member of defendant is not a citizen of New York.

         118. This court has personal jurisdiction over defendant because it conducts and transacts

 business, contracts to provide and/or supply and provides and/or supplies services and/or goods

 within New York.

         119. Venue is proper because plaintiff and many class members reside in this District and

 defendant does business in this District and State.

         120. A substantial part of events and omissions giving rise to the claims occurred in this

 District.



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                                                  Parties

        121. Plaintiff Anakristina Santiago is a citizen of Richmond County, New York.

        122. Defendant is a Delaware limited liability company with a principal place of business

 in Arlington, Virginia, Arlington County and is a citizen of a state other than New York.

        123. Defendant is the United States subsidiary of a German supermarket chain of over

 10,000 locations.

        124. Defendant entered the U.S. market several years ago and by some reports already has

 100 stores, located in Delaware, Georgia, New Jersey, New York, North Carolina, South Carolina

 and Virginia.

                                          Class Allegations


        125. The classes will consist of all consumers in New York, the other 49 states and a

 nationwide class where applicable.

        126. Common questions of law or fact predominate and include whether defendant’s

 representations and practices were likely to harm plaintiff and if plaintiffs and class members are

 entitled to damages.

        127. Plaintiff's claims and basis for relief are typical to other members because all were

 subjected to the same unfair and deceptive actions.

        128. Plaintiff is an adequate representative because his or her interests do not conflict with

 other members.

        129. No individual inquiry is necessary since the focus is only on defendant’s practices

 and the class is definable and ascertainable.

        130. Individual actions would risk inconsistent results, be repetitive and are impractical

 to justify, as the claims are modest relative to the scope of the harm.



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        131. Plaintiff's counsel is competent and experienced in complex class action litigation

 and intends to adequately and fairly protect class members’ interests.

        132. Plaintiff seek class-wide injunctive relief because the practices continue.

                                       New York GBL §§ 349 & 350
                                 (Consumer Protection from Deceptive Acts)

        133. Plaintiffs incorporate by reference all preceding paragraphs.

        134. Plaintiff and class members desired to purchase products which were as described

 by defendant and expected by reasonable consumers, given the product type.

        135. Defendant’s acts and omissions are not unique to the parties and have a broader

 impact on the public.

        136. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

 because it gives the impression to consumers the Products contain sufficient amounts of the

 highlighted ingredient, vanilla, to flavor the Products and did not contain non-vanilla flavors.

                                           Negligent Misrepresentation

        137. Plaintiff incorporates by reference all preceding paragraphs.

        138. Defendant misrepresented the substantive, quality, compositional, organoleptic

 and/or nutritional attributes of the Products through misrepresenting the amount, quantity and/or

 proportion of the flavoring ingredient.

        139. Defendant had a duty to disclose and/or provide non-deceptive labeling of the

 Product and its components and ingredients, and knew or should have known same were false or

 misleading.

        140. This duty is based on defendant’s position as an entity which has held itself out as

 having special knowledge and experience in the production, service and/or sale of the product or

 service type.



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        141. The representations took advantage of consumers’ (1) cognitive shortcuts made at

 the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

        142. Plaintiff and class members reasonably and justifiably relied on these negligent

 misrepresentations and omissions, which served to induce and did induce, the purchase of the

 Products.

        143. Plaintiff and class members would not have purchased the Products or paid as much

 if the true facts had been known, suffering damages.

             Breaches of Express Warranty, Implied Warranty of Merchantability and
                   Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

        144. Plaintiff incorporates by reference all preceding paragraphs.

        145. Defendant manufactures and sells products which purport to contain sufficient

 amounts of the highlighted ingredients, vanilla, to characterize the taste or flavor of the Products,

 which is desired by consumers.

        146. The Products warranted to Plaintiff and class members that they possessed

 substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

 other attributes which they did not due to the presence or absence of the aforementioned ingredient.

        147. Defendant had a duty to disclose and/or provide a non-deceptive description and

 identification of the Product and its ingredients.

        148. This duty is based, in part, on defendant’s position as one of the most recognized

 companies in the nation in this sector.

        149. Plaintiff provided or will provide notice to defendant, its agents, representatives,

 retailers and their employees.

        150. The Product did not conform to its affirmations of fact and promises due to

 defendant’s actions and were not merchantable.



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        151. Plaintiff and class members relied on defendant’s claims, paying more than they

 would have.

                                                 Fraud


        152. Plaintiff incorporates by references all preceding paragraphs.

        153. Defendant’s purpose was to sell a product which purported to contain valuable and

 desired characterizing ingredients and/or flavors, and represent the Products were exclusively

 flavored by the designated ingredients and contained sufficient independent amounts of same.

        154. Defendant’s fraudulent intent is evinced by its failure to accurately indicate the

 Products contained less of the desired ingredients or none at all.

        155. Plaintiff and class members observed and relied on defendant’s claims, causing them

 to pay more than they would have, entitling them to damages.

                                             Unjust Enrichment

        156. Plaintiff incorporates by reference all preceding paragraphs.

        157. Defendant obtained benefits and monies because the Product were not as represented

 and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

 restitution and disgorgement of inequitably obtained profits.

                                    Jury Demand and Prayer for Relief

 Plaintiff demands a jury trial on all issues.

     WHEREFORE, Plaintiff prays for judgment:

    1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

        as counsel for the class;

    2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

        challenged practices to comply with the law;



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    3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, restitution and disgorgement for members of the State Subclasses pursuant

       to the applicable laws of their States;

    4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and other statutory claims;

    5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

    6. Other and further relief as the Court deems just and proper.

 Dated: December 23, 2019
                                                               Respectfully submitted,

                                                               Sheehan & Associates, P.C.
                                                               /s/Spencer Sheehan
                                                               Spencer Sheehan
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                                                               S.D.N.Y. # SS-2056




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 1:19-cv-07206
 United States District Court
 Eastern District of New York

 Anakristina Santiago, individually and on behalf of all others similarly situated,


                                          Plaintiff,


          - against -


 Lidl US, LLC,
                                           Defendant




                                            Complaint




                           Sheehan & Associates, P.C.
                            505 Northern Blvd., #311
                              Great Neck, NY 11021
                               Tel: (516) 303-0552
                               Fax: (516) 234-7800




 Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
 New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
 under the circumstances, the contentions contained in the annexed documents are not frivolous.

 Dated: December 23, 2019
                                                                           /s/ Spencer Sheehan
                                                                            Spencer Sheehan
